                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06-cr-190

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
JUSAMEL RODRIGUEZ McCREARY               )
________________________________________ )

       THIS MATTER is before the Court upon motions of the defendant pro se to rectify the

record pursuant to Fed. R. Crim. P. 36, (Doc. No. 81); for redress of grievances pursuant to the

First Amendment, (Doc. No. 82); and to correct the docket, (Doc. No. 83).

       In the motions, the defendant claims the Court lacked jurisdiction to impose his sentence;

therefore, he is being held in custody in violation of the Constitution and laws of the United

States. The defendant’s conviction and sentence were affirmed by the United States Court of

Appeals for the Fourth Circuit in 2009. (Doc. No. 78). Accordingly, the defendant must seek

relief pursuant to 28 U.S.C. § 2255.

       IT IS, THEREFORE, ORDERED, that the defendant’s pro se motions (Doc. Nos. 81,

82, 83) are DENIED without prejudice to be re-filed pursuant to 28 U.S.C. § 2255. The Clerk is

directed to send § 2255 forms along with a copy of this Order to Jusamel Rodriguez McCreary,

Reg. No. 20958-058, USP Lewisburg, P.O. Box 1000, Lewisburg, PA 17837.

       Additionally, because the defendant’s conviction has been final for more than one year,

any motion under § 2255 must explain why the defendant believes his motion to vacate should be

deemed timely filed. Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002).




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                                Signed: April 17, 2012




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